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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MATTHEW DALEY                                             :
                                                          :
                v.                                        :       CIVIL ACTION NO. 22-1119
                                                          :
NATIONAL RAILROAD PASSENGER                               :
CORPORATION (AMTRAK)                                      :

                                               ORDER


       AND NOW, this         26th     day of      July        , 2022, upon consideration of the Motion

to Dismiss Motion for Partial Dismissal (ECF No. 11) and the Stipulation Among the Parties, it is

hereby ORDERED that the Stipulation is GRANTED.

       IT IS FURTHER ORDERED that:

          1.   The Motion is GRANTED as unopposed;

          2.   Plaintiff’s claims under the Federal Railroad Safety Act, 49 U.S.C. § 20109, et al.,

                are dismissed with prejudice;

          3.   The Federal Rail Safety Act, Tile 49 Sec. 20109, et al. of Paragraph 4 of the

                Amended Complaint is stricken;

          4.   This Court’s jurisdiction over this matter is based solely on the Federal Employer’s

                Liability Act, 45 U.S.C. § 51, et seq.;

          5.   Any damages Plaintiff may be entitled to pursuant to the allegations set forth in the

                Amended Complaint shall be limited to those recoverable under the Federal

                Employer’s Liability Act, 45 U.S.C. § 51, et seq.; and

          6.   Amtrak shall file its Answer to Plaintiff’s Amended Complaint within fourteen

               (14) days of this Order.
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IT IS ORDERED.

                                   BY THE COURT:




                                   R. BARCLAY SURRICK, J.




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